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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF CONNECTICUT NEW HAVEN

GARY POWELL, GAIL POWELL case #. (GOV 1879- Tan

Plaintiff,
Vs. COMPLAINT AND JURY DEMAND

OCWEN LOAN SERVICING, LLC as
Servicer for DEUTSCHE BANK NATIONAL
TRUST COMPANY; LITTON LOAN
SERVICING LP; DOES 1-50.

Defendants.

COMES NOW PLAINTIFFS, GARY POWELL and GAIL POWELL, (hereinafter also

“POWELLS’), and for his Complaint in support of his action to Enjoin Foreclosure.

JURISDICTION AND VENUE

1. Jurisdiction is appropriately laid in the United States District Court, District of
Connecticut-New Haven pursuant to 28 USC 1331 as the claim in question is based upon

a federal statute and Federal Question Jurisdiction.

2. Venue is appropriately laid in the District Court of Connecticut — New Haven
pursuant to 28 USC 1391 (b)(2) as the events giving rise to the claim occurred

substantially within the State of Connecticut.

PARTIES
3. Plaintiffs, Gary and Gail Powell (“POWELLS”) are husband and wife owners
and residents of the real property located at 32 Edgewood Drive Wallingford, CT 06492.

4. Defendant, Ocwen Loan Servicing, LLC (“Ocwen’) is the mortgage servicing
company responsible for soliciting, collecting and accounting for mortgage payments on
the mortgage loan relating to Plaintiffs’ home. Defendant maintains its principal place of
business at 1661 Worthington Rd STE 100 West Palm Beach, FL 33409-6493.

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5. Defendant, Litton Loan Servicing, LP was the prior mortgage servicer
responsible for soliciting, collecting and accounting for mortgage payments on the
mortgage loan relating to Plaintiffs’ home. Litton Loan Servicing, LP was bought out by
Ocwen Loan Servicing, LLC in the summer of 2011. An agent for service is unknown at

this time but Litton was based in Houston, Texas.

6. Defendant Ocwen Loan Servicing, LLC. is claiming an interest as a first

mortgagee, is an international mortgage and banking corporation.

FACTS RELATED TO ALL COUNTS

7. Plaintiff re-alleges paragraphs 1-3 and incorporates same by reference.

8. On May 31, 2002 Plaintiffs entered into a mortgage loan agreement with
Accredited Home Lenders for $445,500.00 by executing a promissory note and a
mortgage to secure the note on their residential property known as 32 Edgewood Drive
Wallingford, CT.

9. Due to unforeseen economic circumstances Plaintiffs defaulted on the

mortgage loan.

10. The Powells completed a series of Loan Modification trial periods from June
2008 through December 2011. Although unknown at the time, Defendants were not
applying the payments against Plaintiffs account. As of today, Plaintiff is still unaware of
the location of these funds. Plaintiffs Mortgage statement did not reflect any posting of
said payments against the principal balance of their mortgage. Plaintiff did not receive a
1098 — Mortgage Interest Statement from either Litton or Ocwen for said payments. See

payment history below:
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Month/Year

June 2008
August 2008
September 2008
October 2008
November 2008
December 2008

January 2009
February 2009
March 2009
April 2009

May 2009

June 2009

July 2009
August 2009
September 2009
October 2009
November 2009
December 2009

January 2010
February 2010
March 2010
April 2010

May 2010

June 2010

July 2010
August 2010
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October 2010
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December 2010

January 2011
February 2011
March 2011
April 2011

May 2011

June 2011

July 2011
August 2011
September 2011
October 2011
November 2011
December 2011

Bank

Check
Number

Payment
Amount

New Alliance 400278029 $3,661.98 | ModI

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Wachovia**

Peoples Bank
Wachovia**
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Wachovia**

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Lender added an escrow
shortage payment of $343.45
for taxes that they paid in
August of 2008

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11. It should be noted that Plaintiff complied with all terms of the Trial
Modifications and paid timely ALL mortgage payments under said Trial Plan yet were not

extended a permanent agreement at any time before or after the loan transferred.

12. Said mortgage was transferred on or around December of 2011. At which
time, Ocwen began servicing the Powells mortgage. Ocwen did not accept the trial plan

payments from Plaintiff and began an acceleration of their mortgage.

13. Plaintiffs continued attempts at loan modifications with Ocwen

unsuccessfully.

14. In May of 2016, Defendant filed a Foreclosure Complaint against Plaintiffs
seeking Court approval to accelerate the Note via Foreclosure Sale. Case Number NNH-
CV16-6062358-S, New Haven Superior Court.

15. The parties were referred to Court Supervised Mediation. From November
2016 through July 2017, the parties participated in 5 different mediation attempts. The
parties reached an agreement in April of 2017 on a permanent modification once the 3
Trial Plan payments were made successfully. Mr. Powell requested clarification in regard
to the escrow account (taxes & insurance) which were not addressed in the Loan
Modification Trial Plan Offer (See attached as Exhibit A). Counsel for Deutsche stated to
the Court that the Modification did include the escrow payments and that a corrected
Agreement would be forwarded to reflect that. Mr. Powell agreed to make said Trial Plan

payments once he received the corrected documents.

16. Defendants did not correct the documents. Instead, Defendant filed a Motion
for Judgment. Defendants continued to push for the Foreclosure instead of honoring the

agreement made in Mediation in April of 2017. (See attached as Exhibit B)

17. To date, Defendants have failed to provide Plaintiffs with the corrected

documents as they stated back in April of 2017.

18. Plaintiff relied on Ocwen’s representations exclusively and made all attempts

to stay in contact with Ocwen’s Loan Modification Department.

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19. Despite repeated attempts by Plaintiff to work with Defendants, Ocwen is

proceeding with the foreclosure.

20. _‘— Plaintiffs property is currently scheduled for Foreclosure sale on January 12,
2019.

COUNT | - Violation of the Fair Debt Collection Practices Act 15 USC 1692 et seq.

21. ‘Plaintiff re-alleges paragraphs 1-3, 7-21 and incorporates same by reference.
22. Plaintiff are consumers as that term is denied by 15 USC 1692a (3).

23. |The mortgage loan that is the subject of this litigation is a debt as that term is
defined by 15 USC 1692a (5).

26. Defendant Ocwen is a debt collector as that term is defined by 15 USC
1692a (6).

27. Any Exhibits provided in regard to loan modifications are “communications”
as defined by USC 1692a (2).

28. Ocwen violated 15 USC 1692d by engaging in debt collection conduct having

the natural consequence to harass, oppress and/or abuse Plaintiffs.

29. Defendants (ALL) did not apply payments made to the mortgage entities
against the loan to cure the arrears of the loan in a timely manner, as required under the

Modification and Partial claim procedure.

30. Defendants sent debt collection letters and notices which threatened to

foreclosure on Plaintiffs home while they were current and making payments in a trial plan.

31. Defendants failed to apply loan payments made under the Modification as of
the date received pursuant to 15 USC 1639(f).

32. Defendants regularly sent Plaintiffs mortgage bills with the wrong interest

rate and demands for payment in excess of the amount owed under the Modification.

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33. Defendants violated 15 USC 1692e by using false, deceptive, and/or
misleading representations or means in connection with the collection of the debt. They

prayed on the vulnerability of its’ clients to obtain monies in connection with the mortgage.

34. Communications sent by Defendants included false representations of the

character, amount and/or legal status of the debt that is the subject of this litigation.

35. Said Communications use false representations and/or deceptive means in

an attempt to collect a debt.

36. Defendants violated 15 USC 1692f by using unfair and/or unconscionable

means to collect upon or attempt to collect upon Plaintiffs’ debt.

37. The communications sent by Defendants to Plaintiff seek to collect an

amount not expressly authorized by agreement or law.

38. Defendants induced Plaintiff to execute a Modification without properly
applying the Trial Plan Payments against the Mortgage and providing inaccurate account

balances on said documents.

39. Defendants failed to apply loan payments made under the modification as of
the date received pursuant to 15 USC 1639 (f).

40. Defendants wrongdoing identified in this Complaint is intended to place
Defendants on notice of its actions and is not an exhaustive list of wrongdoing. It is
anticipated additional violations of the Fair Debt Collections Practices Act and further

Causes of Actions will be discovered.
41. Asaresult of the actions of Defendants, Plaintiffs have suffered damages.

42. Asa result of the actions of Defendants, Plaintiffs are entitled to all relief
under 15 USC 1692k including but not limited to statutory damages, actual damages,

attorney fees and costs of suit.
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COUNT II — Violation of the Truth in Lending Act 15 USC 1631 et seq.

43. Plaintiff re-alleges paragraphs 1-3, 7-42 and incorporates same by reference.

44. The Truth in Lending Act 15 USC 1639f (a) requires loan servicers and

lenders to “credit a payment to the consumer’s loan account as of the date of receipt...”.
45. All Mortgage Statements show that Defendants have failed to do so.

46. Defendants further charged late fees and/or penalties in connection with their

own failure to timely credit payments.

47. As a result of Defendants actions, Plaintiffs have been injured. A true

reflection of that total injury is unknown currently but is discoverable.

48. Plaintiffs are entitled to all relief under 15 USC 1640(a) including but not

limited to statutory damages, actual damages, attorneys’ fees and costs of suit.

COUNT Ill - BREACH OF CONTRACT &
BREACH OF GOOD FAITH AND FAIR DEALING

49. _ Plaintiff re-alleges paragraphs 1-3, 7-48 and incorporates same by reference.

50. Implied in the contract between parties to a mortgage is an obligation of

good faith and fair dealing that neither party will do anything having the effect of

destroying or injuring the rights of the other party to receive the fruits of the contract.

51. Defendants assert a mortgage contract to which the parties were bound.

52. In that contract were Defendants’ duties and provisions that included
Defendants’ responsibility to service the loans they allegedly held.

53. Defendants breached their duties in servicing the loan transaction, refusing
to properly service the transaction and in so doing, mislead Plaintiff severely.

54. Defendants breached their obligation of good faith by not explaining the

terms of the loan modification transaction and options to Plaintiff, and in not properly

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explaining or servicing the provisions creating a false transaction when Plaintiff tendered
monies, information, and applications at request of Defendants and/or their predecessors.

55. Since Defendants breached their contract and obligation of good faith and
fair dealing, the contract between Plaintiff and Defendant is void and/or voidable.

COUNT IV - ESTOPPEL/UNCLEAN HANDS

56. Defendants re-allege and incorporate paragraphs 1-3, 7-55, herein.

57. Defendants breaches and material misrepresentations have caused
irreparable harm to Plaintiff and constitute unclean hands on the part of Defendants.

58. Defendants and/or predecessors have been and/or will be unjustly enriched
through the taking of monies through alleged and proposed transactions upon which
Plaintiffs reasonably relied. Plaintiff also reasonably relied on Defendant’s servicing and
working out loan modifications with Plaintiff as have in their course of prior dealing.

59. _—_— Plaintiff may have benefitted also by Federal Loan Workout Programs such
as HAMP/TARP to which Plaintiff relied upon being able to avail themselves of.

60. _‘ Plaintiff did, in fact, reasonably rely on Defendant’s representations and
conduct before, during, and after the purported closing to the substantial detriment of
Plaintiff.

61. Plaintiff, in fact, relied upon both sets of material representations to their
detriment—their home remains far from the value it was when the transaction began, and
now faces foreclosure.

62. Defendants represented they would foster an opportunity in which to modify
this loan transaction to which they relied, and until such time the Defendants should be

estopped from proceeding in foreclosure as a result.
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COUNT V —- ACCOUNTING

63. Defendants re-allege and incorporate paragraphs 1-3, 7-63, herein.

64. Defendants have not only misled Plaintiff with promises of modifications,
principal deferments, etc. but have also miscalculated amounts owed by Plaintiff. Attached
hereto as Exhibit C is Plaintiffs analysis of escrow monies paid by Plaintiff directly to the
Insurance and Tax Collector, Escrow payments made as a part of the Loan Modifications
and payments collected from the lender for so called “Escrow Shortages”. What this report
will show is that Defendants were collecting exuberant fees for Escrow payments there
weren't making.

65. Defendants continued charging Plaintiffs fees and penalties on Escrow
payments that had been previously paid by Plaintiff.

66. This issue lends further suspicion of other erroneous fees being charged by
Defendants for items previously paid.

67. The reporting of the fees paid by Plaintiff were not properly reflected on
Statements or Plaintiffs 1098 Mortgage Interest Statement which calls in to question a

possible Title 26 issue with the IRS.

COUNT VI -— FRAUD

68. Defendants re-allege and incorporate paragraphs 1-3, 7-68, herein.

69. As evidence in the attached series of Mortgage Statements (Exhibit D),
Defendants have continuously misrepresented the loan balance, escrow accounts, escrow
shortage, suspense account balance and fees being assessed on Plaintiffs mortgage.

70. Defendants then issued 1098 Mortgage Statements showing a different

accounting than what had been reported through monthly statements.
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71. It is the believe of Plaintiff that this misrepresentation by Defendant was
intentional to cause confusion and frustration to Plaintiff.

72. Plaintiff has not had a clear picture of the financial position of its’ mortgage
for the last 10 years of its’ history.

73. Plaintiffs assert that this is due to Defendants fraudulent acts of hiding and
misappropriating Plaintiffs funds in an attempt to defraud not only its’ clients but the IRS.

74, In a recent search of Defendants Litigation cases, it was noted that this very
same claim has been made repeatedly in other State and Federal Actions. In addition, it
should be noted that it was also included in several class action settlements. Defendant
was required to pay out to its’ client's damages as a result of fraudulent activities on their
loans.

75. Plaintiff believes their loan has a significant amount of Fraud and believes

the actual mortgage balance is MUCH less than Defendants claim.

WHEREFORE, Plaintiff requests this Honorable Court ENJOIN Defendants from
foreclosure together with awarding any other relief in favor of Plaintiffs that this Court
determines just and appropriate; and respectfully request this Court provide relief in the

following manner:

(a) Assume jurisdiction of this case;
(b) Enjoin Defendants from mortgage foreclosure during the pendency of this
action and permanently thereafter, from instituting, prosecuting or maintaining
foreclosure proceedings on Plaintiff's property or from otherwise taking any
steps to deprive Plaintiffs of ownership of that property;
(c) Waive any Bond that may be required by Plaintiffs as Defendants’ security

interest is protected in the property;

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(d)

(f)

(9)

Order Defendants to engage on the loss mitigation procedures Defendants
offered such that Plaintiffs can recover;

Alternatively, Order Defendants to take all actions necessary to terminate any
security interest in Plaintiff's property created under the transaction and that
the Court declare the security interest void, including but not limited to the
mortgage and note related to the closing Transaction herein above described;
Order the return to Plaintiffs of any money or property given by Plaintiff in
expectation of loss mitigation and loan servicing, to anyone of Defendants’
agents, including the Plaintiff, in connection with the transaction;

Order a Forensic accounting of Plaintiffs loan or in the alternative, reduce
Plaintiffs Loan for all unnecessary fees, unexplained interest and charges from
Defendant;

Award actual damages in an amount to be established at trial and/or
evidentiary hearings that are now requested;

Award costs and reasonable attorneys’ fees to Plaintiffs as applicable.

Award such other and further relief as the Court determines just and proper.

RESPECTFULLY SUBMITTED,

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Gary Powell Pro Se Plaintiff

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/ kK ix WAL

Gail Powell, Pro Se Plaintiff

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EXHIBIT A
MEDIATION REPORT
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Judicial District of New Haven
‘SUPERIOR COURT

FORECLOSURE MEDIATOR'S STATE OF CONNECTICUT FILED COURT USE ONLY

REPORT SUPERIOR COURT EMRPT

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A.0. KSIN, 7A. TO-

et
CHIEF CLERK’S OFFICE
“Name of Case ~—) Bockat Number Return Gate —
DEUTSCHE BANK NATIONAL TRUST COMPANY, AS NNHCV166062358S 5/24/2016
TRUSTEE F V. POWELL, GARY L.
Jidlelay Bletrlet Name of Mediator Une NedalonHea
New Haven Karen Zarkades 7/31/2017
1. Did the parties engage in conduct consistent with the objectives of the mediation program?
Plaintiff x] Yes {-] No If no, explain:
Defendant Yes [_] No Ifno, explain: The Defendants, Gary Powell and Gail Powell were not present but were
represented by counsel.
Did the parties possess the ability to mediate?
Plaintiff Yes ([_] No Ifno, explain:
Defendant Yes  [_] No Ifno, explain: through counsel.

2. Did the mortgagor submit a complete financial package to the mortgagee? & Yes] No
if no, explain:

3. What foreclosure alternative has the mortgagor requested?

Loan modification [_] Repayment [] Reinstatement
(_] Short Sale [_] Deed-in-Lieu [_] Modification of sale date/law day

4, Has the mortgagor been previously evaluated for a similar request? Yes ([] No
If yes, prior to mediation DX] In mediation (_]
lf yes, has there been a change in circumstances since that evaluation? x] Yes {] No
lf yes, explain; Default_on_loan modification obtained in June 2008 (Defendant disputes that he “teu ted_on_ this
modification): denial of assistance in June 2016 due to Investor restriction to one a over the lifetime of the loan,

5. Has the mortgagee responded to the mortgagor's request? x] Yes{_] No [] Not Applicable
Description of the response: &X]: Approval [_] Denial
Explain: Approved fo er internal Streamline trial modification, initial trial payment due on 5/1/17.

Is the mediator aware of any material reason to disagree with that response? - [] Yes XX] No
If yes, explain:

6. Has the mortgagor responded to the ae offer ona reasonably timely basis? (| Yes X] No [J Not Applicable
Explain: At_ mediation on 4/21/17 r. Gi was informed bs Ocwen re cesentalive Richard Ryan via
speaker phone, that the offe ent elu We a zard Insurance ich ti
Borrower verball the tri lofi and the a iation period ext ot to today's date. Borrowe AB well then
made no trial payments,

7. Has the mortgagee requested additional information from the mortgagor? / C] Yes XJ No

If yes, what are the stated reasoris for the request and by what date must the
information be submitted so that all financials will remain current?

8. Has the mortgagor supplied, on a reasonably timely basis, additional information reasonably Cc Yes [_] No
requested by the mortgagee? Not Applicable
If no, reason:

9. Is information provided by the mortgagor still current for the mortgagee's review? (] Yes XX] No

1

if no, list the out-of date information and the reason it is no longer current: tral modification offer_has lapsed due fo non-
performance of the Borrower.

0, Has the mortgagee provided a reasonable explanation of a denial for the foreclosure alternative © Yes (J No
requested? Not Applicable

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NNHCV1 660623588 es” wot (>. Date Mediation Held: 7/31/2017

Is the mediator aware of any vt reasons to disagree with the denial? (_] Yes [] No
If yes, explain:
11. Has the mortgagee complied with the statutory time frames for responding to requests for decisions? Yes ["] No
If no, expiain:
12, Did the parties satisfy the expectations set forth in the previous report?
Plaintiff XX] Yes 7 No  [_] Not Applicable
Defendant(s) c Yes [X]No [{] Not Applicable
If no, explain: erbally accepta nder's offer of trial modification at mediation on 4/21/17 after
belng reassured that fe pavient quoted included ine monthly escrow portion, however, Borrower then made no payments
on ine tri al plan.
Is a subsequent mediation session expected to occur? [] Yes] No Don't Know

Describe the expectations for each party both prior to and for the next mediation session, if applicable:

13, Will the parties benefit from further mediation? C] Yes Kj No
Additional comments:
If Defendants file
This report was ¢ Ch party to the mediation on: 1-3 I-] ‘)
(Date)
' Medlator's Signature (Date)

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Bendett & McHugh, P.C_, 270 Farmington Avenue, Suite 15 1, Farmington, CT 06032 » TEL (860) 677-2868 « TDD/TYY PLEASE FIRST DIAL 711

DOCKET NO: NNH-CV-XX-XXXXXXX-S SUPERIOR COURT
DEUTSCHE BANK NATIONAL J.D, OF NEW HAVEN
TRUST COMPANY, AS TRUSTEE

FOR MORGAN STANLEY ABS

CAPITAL I INC. TRUST 2002-HE3

VS AT NEW HAVEN
POWELL, GARY L., ET AL ; SEP O11 2017

MOTION FOR JUDGMENT OF STRICT FORECLOSURE AND
FINDING OF ENTITLEMENT TO POSSESSION

The Plaintiff hereby moves that a Judgment of Strict Foreclosure be entered in the above-
captioned matter and that the court make a finding that the Plaintiff is entitled to possession of

the subject premises upon title to the subject premises vesting in Plaintiff,

THE PL “LA
By_ ( “ /S

Dina Tornheim
Bendett & McHugh, P.C.
Its Attorneys

NOTICE: THE LAW FIRM OF BENDETT & MCHUGH, P.C. IS A DEBT
COLLECTOR AND IS ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION
WE OBTAIN WILL BE USED FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY
RECEIVED A DISCHARGE IN BANKRUPTCY WHICH DISCHARGED THIS DEBT,
THIS CORRESPONDENCE IS NOT AND SHOULD NOT BE CONSTRUED TO BE AN
ATTEMPT TO COLLECT A DEBT, BUT ONLY ENFORCEMENT OF A LIEN
AGAINST PROPERTY.

ORAL ARGUMENT IS REQUESTED
TESTIMONY IS NOT REQUIRED

BENDETT&?McHUGH
270 FARMINCTON AVENUE, SUITE 151 * FARMINGTON, CT 06032 * (860) 677-2868 * Juris No. 102892

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EXHIBIT B
BANK’S MOTION FOR
FORECLOSURE
POST MEDIATION
Bendett & McHugh, P.C., 270 Farmington Avenue, Suite 151, Farmington, CT 06032 TEL (860) 677-2868 « TDD/TYY PLEASE FIRST DIAL 711

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DOCKET NO: NNH-CV-XX-XXXXXXX-S ; SUPERIOR COURT
DEUTSCHE BANK NATIONAL J.D. OF NEW HAVEN
TRUST COMPANY, AS TRUSTEE

FOR MORGAN STANLEY ABS

CAPITAL I INC. TRUST 2002-HE3

VS - : AT NEW HAVEN
POWELL, GARY L., ET AL ; cEP O1 2017

LIST OF ORDER OF LAW DAYS IN CONNECTION WITH
MOTION FOR JUDGMENT OF STRICT FORECLOSURE

Pursuant to Practice Book Section 23-17, the Plaintiff hereby submits its proposed list of
law days of the Defendants in the above-referenced matter:

—

Gary L. Powell and Gail M. Powell

2. United States of America, Department of the Treasury — Internal Revenue Services

Ww

. LVNV Funding LLC
4, Title Vests in Plaintiff - next proceeding day

THE PLAINTIFF,

py (A Mi.
“Dina Tormiiein

Bendett & McHugh, P.C.
Its Attorneys

BENDETT& McHUGH
270 FARMINGTON AVENUE, SUITE 151 * FARMINGTON, CT 06032 ° (860) 677-2868 « JuRIS No. 102892

ton Avenue, Suite 151, Farmington, CT 06032 » TEL (860) 677-2868 « TDD/TYY PLEASE FIRST DIAL 711

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Bendett & McHugh, P.C., 270 Farmin

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CERTIFICATION

I hereby certify that a copy of the above was mailed or electronically delivered on

OCT 022 ___ to all counsel and pro se parties of record and that written consent
for electronic delivery was received from all counsel and pro se parties of record who were
electronically served, as follows:

WILLIAM E CARTER

658 BROAD STREET
MERIDEN, CT 06450 \~

Alex Rigéiardone

Commissioner of the Superior Court

BENDETT&’ MoHUGH
270 FARMINCTON AVENUE, SUITE 151 ° FARMINGTON, C’T’ 06032 * (860) 677-2868 © Juris No. 102892

Bendett & McHugh, P.C., 270 Farmington Avenue, Suite 151, Farmington, CT 06032 « TEL (860) 677-2868 e TDD/TYY PLEASE FIRST DIAL 711

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CERTIFICATION

I hereby certifv that a copy of the above were mailed or electronically delivered on
OCT 2 2017___ to all counsel and pro se parties of record and that written consent
for electronic delivery was received from all counsel and pro se parties of record who were
electronically served, as follows:

WILLIAM E CARTER
658 BROAD STREET
MERIDEN, CT 06450

; Vv
Alex J. Ricotarddne
Commixsionet of the Superior Court

BENDETT& McHUGH
270 FARMINGTON AVENUE, SUITE 151 * FARMINGTON, C’'T 06032 * (860) 677-2868 « JuRIS NO. 102892

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2017038572

__ Desktop Underwriter Quantitative Analysis Appraisal Report File No. 0615FC-20156359/AT
APPRAISER'S CERTIFICATION: = The Appraser certilies and agrees that
1 1 performed this appraisal by (1) personally inspecting {rom the street the subject propedy and neighborhood and each of the

cumparable sales (unless | have olherwise indicated in this report that | also inspected the inlerior of Ihe subject property); (2) collecling, confining,
and analyzing dala from reliable public and/or private sources; and (3) reporting the resulls of my inspection and analysis in this summary appraisal
report | durther cerlify that | have adequate information about the physical characteristics of the subject properly and the compatable sales to develop
this appraisal

2 | have researched and analyzed the comparable sales and offerings/listings in the subject market area and have teported the
compaable sales tn this reporl that are ihe best available for the subject property | luvther certily that adequate
compatable market data exisls in the general market area ta develop a reliable sales comparison analysis for the subject property.

3 | havo taken into consideration the factors that have an impact on value in my development of the estimale of market value in
the appraisal report. | further corlity that | have noted any apparent or known atlverse conditions in ihe subject improvements on
the subject site, or on any site within the immediate vicinity of the subject property of which | am aware, have considered these adverse
conditions in my analysis of the property value 1o the extent thal | had market evidence to support them, and have commented about the ctfect of
{he adverse conditions on the markotability of (he subject properly. | have not knowingly wilbheld any signtilcant Inforination fron: the appraisal
report and | believe, ta the best of my knowledgg, that all slaternents and informalion in the appraisal report are true and correct

4. 1 stated in the appraisal report only my own personal, unbiased, and professional analysis, opinions, and conclusions, which are
subject only to the contingent and limiting conditions specified in this form.

5. | have no present or prospective interest in the property that is the subject of this report, and | have no present or prospective personal
interest ot bias with respect to the participants in the transaction, | did nol base, eilher pactlally or completely, my analysis and/or lhe
estimale of market value in the appraisal report on the race, color, religion, sex, age, marital stalus, handicap, famuiliat status, or national
atigin of githur the prospective owners or occupants of the subject properly or of the present owners or occupants of the properties
in the vicinity of the subject property or gn any other basis prohibited by law.

6 | have no oresenl or contemplated future inlerest in the subject property, and neilher my current oF fulure employment nor my
compensation for performing this appraisal is contingent on the appralsedi vatue of the property.

7. $ was not required to report a predetermined value or direction in value thal favors the cause of the client or any relaled party, the
amount of the value estimate, Ihe attainment of a specific result, or the occurrence of a subsequent everl in order lo receive my
compensalion and/or employment for performing the appraisal. | did not base the appraisal report on a requesled minimum valuation,
a specific valuation, or the need to approve a specific mortgage loan.

8. | estimated the market value of the real property thal is the subject of this report based on the sales comparison approach to value |
further certily thal | considered the cost and income approaches to value, but, Inrough mutual agreement with the client, did nol develop them, unless
Ihave noted otherwise in this report

9. 1 pertormed {his appraisal as a limited appraisal, subject to the Departure Provision of the Uniforin Standards of Professional Appraisal
Practice that were adopted and promulgaled by the Appraisal Slandards Board of The Appraisal Foundation and thal were in place as of
the effective dale of the appraisal (unless | have otherwise indicated in this report {hat the appraisal is a complete appraisal, in which
case, the Deparlure Provision does nol apply)

10. ( acknowledge that an estimale of a reasonable time for exposure in the open market is a conulition in the deiinition of maiket value
The exposure time associated wilh the estimate of market value for the subject property is consislent with the markeling lime noted
in the Neighborhood section of this report. The matkeling period concluded tor the subject property al the estimated maikel value is
also consistent with the marketing Une noted in the Neighborhood section

11 | personally prepared all conclusions and opinions akowl the real eslale that were sel foith in the appraisal tcport.
further certify that no one provided significant professional assistance lo me in the development of this appraisal

SUPERVISORY APPRAISER'S CEATIFICATION: ff a supervisory appiaiser signed the appraisal report, he or she certifies and agrees that:
| directly supervise the appraiser who prepated the appraisal report, have examined the appraisal report for compliance with the Uniform Standards
of Piolessional Appraisal Practice, agree wilh the statements and conclusions of the appraiser, agree io be bound by the appraiscr's
certifigalions numbered S through 7 above. and am laking full responsibilily for the appraisal and the appraisal report

APPRAISER: x - SUPERVISORY APPRAISER (ONLY IF REQUIRED}:

Siqvalure! 3X) fora, ! Chegnaryn Signature: _ a

Samp: Glin Chienyaaia . Name _ _ _

Company Name. L.M. Sepso Appraisal Associales, LLG... Company Name: —

Company Address: 7365 Main Street, Sle 344 Company Address. ___
Stratford, CT.06614_ ———

Oate af Reporv/Signature August 29, 2017 _... Date af Report/Signature:

State Certification #: .RCR.9n00122 ee, Slate Cenlification #:

orStateLicense #2 ee or Stale License #:

Slate’ CT — . State:

Expiration Date of Certification or License: =__04/30/2018 Expiration Dale of Certification or License:

ADDRESS OF PROPERTY APPRAISED:

32 Edgewood Or ___ SUPERVISORY APPRAISER:
Wallingford, CT 06492 SUBJECT PROPERTY
APPRAISED VALUE OF SUBJECT PROPERTYS = 385,000 a __: Did not inspect subject propery

EFFECTIVE DATE OF APPRAISAL/INSPECTION August 28, 2017 __ : i Did inspect exterion of subject property from street
-. Did inspect interior and exterior’ of subject property

ee COMPARABLE SALES
Name: _

Company Name: Bendett & McHugh, P.C

Company Address: 270 Farmington Avenue Suile 151, Builging 3,
Falmiyglas, CT. 06032

Did not inspect exterior of comparable sales fromm streel
_ Did inspect exterior of comparable sales from strecl

PAGE 3 OF 3 Tanne fvlae Form 2058 9-96
Form 205 — ‘Win TOTAL" appraisal suftveaie by a la mode inc -- 1°800-ALAMGOE
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ipl Hi. Olid te ea TotRaAN Page #4i

. . . . 2017-038572
Desktop Underwriter Quantitative Analysis Appraisal Report File No. 0615FC.20156359/AT
Yes

Project Information for PUDS ill appticable} - - Is the developer/builder in controt of the Home Owners’ Association (HOA)?
Provide the (allowing Intarmation for PUDs only if the developer/ouilder is in control of the HOA and the subject property is an atlached dwelling unt:

Jotal number of phases Total number of unils Total number of units sold ee _|
Total number of units rented Total number of unils for sale _ Data Source(s) __|
Was the project created by the conversion of existing buildings into a PUN}? LJ]¥es | No it yes, dale of conversion:

Does lhe project contain any mrulli-dweling units? { l¥es | JNo Data Source

Are the common elements completed? (_i¥es (J) No — ItNo, describe slatus of completion: = _ |

Ara any cammion elemenis leased to or by the Home Owners’ Association? (]¥es [_Jtte ff yes, attach addendum describing rental lems and eptoris
Describe common elements and recreational tacilies:

Project Information for Condominiums (II applicable) - - Is the developerburkler wm controt of the Hame Owners’ Association (HOA)? : tYes {3 No
Provide the following Information fir afi Gondaminiin Projects:

Tolat nurmber of phases Tolal number of units _ a Total numbur of units sel

Total number of unils rented Tolal umber af unils for sale . Oata Source(s) _
Was the project crealed by Ihe conversion of existing buildings inlo a condominiurn? 1]¥es !_] No Ityes, date of conversion:

Project Type: [| Primary Resilence {| Second Home or Recreational —(__] Row or Townhouse { }Garden [_]midise [ !Highrise [| |

Condition of (he project, quality of construction, wnil mix, ele :

Are tha common elements campleted? Li Yes 0 No It No, describe status of completion: i

Are any camnion elements leased to or by the Home Owners’ Association? Lives (J No It yes, attach addendum descnbing rental terms and options
Describe common elements and recreational facilities:

PURPOSE OF APPRAISAL: The purpose of Ihis appraisal is to estimate the market value of the real property hat is the subject of this report based on a
quantilalive sales comparison analysis tor use in a morgage finance transaction.

DEFINITION OF MARKET VALUE: The most piobable price which a properly should bring im a competitive and open market under all
conditiuns requisite tn a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affecled by undue
slimulis. Imphcit in this detinilien 1s the cansummation of a sale as of a specilicd date and the passing of title tum seller to buyer
undet condilions whereby: (1) buyer and seller are typically motivated; (2) both parties are well informed or well advised, and each acting
in what he considers his own best intersst; (3) a reasonable time is allowed for exposure in the open market; (4) payment is made
in terms of cash in U.S. dollas or in terms of financial arrangements comparable thereto: and (5) the price represents the normal consideration
for the propenty sold unaitecied by special or creative financing or sales concessions* granted by anyone associated with the sale

* Adjustments to the comparahles must he made for special or creative financing or sales concessions. No adjustments are necessary for those
cosls which are normally paid by sellers as a resull of tradition ov law in @ markel area; these costs are readily identifiable since the
seller pays these costs in virtually all sales lransactions. Special or creative financing adjustments can be made to the comparable
properly by compatisuns to financing terms offered by a third party institutional lender (hal is nel already involved in the property or
wansaction. Any adjustment should not be calculated cn a mechanical dollar fo: dollar cost of the financing or concession but the dollar
amount of any adjustment should approximate the markel’s reaction to the financing or concessions based on ihe agpraiser's judyrrent

STATEMENT OF LIMITING CONDITIONS AND APPRAISER’S CERTIFICATION
CONTINGENT AND LIMITING CONDITIONS: The appraiser's certification Inat appears in the appraisal reporl is subject to the tollowing conditions:

4. The appraiser will not be responsible for matters of a legal nature that affect cither the properly being appraised or the title to it, The appraiser assumes
(hal the tille ts goud aad marketable and, therefore, will not render any opinions aboul the lille The properly ts apprased on the
basis of ithging unde responsible ownership

2 The appraiser has provided any required sketch in the appraisal report to show approximate dimensions of the improvements and the sketch
is included only to assisi the reader of the report in visualizing (he property and understanding ua appraiser's detenninalion of its size

3. The appraiser will nut give (ustimeny of appear in court because he or sie made an appraisal of the properly in question, unless specilic
arrangements to do so have been made beforehand,

4. The appraiser has noted in the appraisal report any adverse conditions (such as, ut not limiled to, needed repaiws, the presence of hazardous
wastes loxig substances, cle} observed during the inspection af the subject property ov that he or she became aware of during
(he normal tesewch involved in performing (he appraisal, Unless olherwise slated in the appraisat repon, the appraiser has no knowledge
af any hidden or unapparent conditions of the property or adverse cnvironmental conditions {including te presenee of hazardous
wasles, toxic subslances, etc.) that would make (he properly more or less valuable, and has assumed (hat there are no such conditions and
makes no guaranlecs or wailantics, expressed ar implied, regarding the condilion of the property Vhe appraiser will nol be
responsible tor any such conditions thal do exist or for any engineering or testing ihat might be required io discover whether such conditions
exist Because the appraiser is mot an expert in the field of environmental hazards, lhe appraisal report must not be considered
as an environmental assessment of the property.

5 She appraiser obtained the tnfonmation. eslimatcs, and opinions thal were expressed in the appiatsal :eport fram sources that he or she considers to be
reliable and beheves them to he true and correct The appraiser does not assume responsibility for the accuracy of such ilems thal were furnished by
olhier parli¢s

6 The appraiser will not disclose the contents of lhe appraisal report except as provided for in the Uniform Stanvards of Professtonal Appraisal Practicu

7, The appraiser must prowde his or her prior writlen consent before the lender/client specitied in the appraisal report can disinbute the appraisal
repo (inctuding conclusions = aboul the propery value, the appraiser's identity and = professional designations, and references
to any prolessional appraisal organizations or the fim wilh which the appidiser is associated) to anyune other than the bairowel:
the moigaygee or ws successors ald assigns; the imorngage insuier, consullants, professional appraisal organizations; any state on
federally approved financial institulian; or any depariment, agency, or instrumentality of the United States or any state or the District af
Columbia excep! thal the lende/client may distribute the report to dala collection ot reporting service(s) wilhoul having to ablain Ihe
appraiser's pia written consent The appraiser's writen consent and approval must alsu be obtained before Ihe appigisal can be
conveyed by anyone to the public through advertising, public relations, news. sales or olher media

8 The appraiser has based his or her appraisal report and valualion conclusion far an appraisal that is subject to completion per plana and speciticalians on
an the basis al a hypothetical condition thal the improvernents tlave heen compleled
9 The appraiser has based Is or her appraisal report and valualion conclusion for an appraisal that is subject to cornpletion, repairs, or alleraligns on the
assumption thal conipletion of the improvements will be yertarmed in a workmanlike manner.

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Form 205 — ‘WinTOTAL" apniatsal soltware by a ia mode, ine - - 1-800-ALAMODE

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7 a Fite Mie TES
wy Fa nnieMae Sterling Appiaisaly (203)878+1730 Poi Et Noni 2017-038572
Desktop Underwriter Quantitative Analysis Appraisal Report File Ho; 0615FC-20186389/AT
THIS SUMMARY APPRAISAL REPORT iS INTENDED FOR USE BY THE LENDEA/GIIENT FOR A MORTOARE FINGNCE TRANSACTION ONLY.
Polity Audites ova Evsyiweiciel Dr _ tily Wallingford _____ Stale CT Zip Code 06492
Leaal fescapliny Volume $13, Puan 3 _ County Nise Mav:
Assess ePaiel My P0466100 Tax Year 2016 ALE inne $2,970.72 73 SuuiilAssnearoont§, Qo
Serre MAA Current Owner Powell, Gary L. — — eenpant ES Gym teat Foca

=
a

Fad tisinhiboryood on Piojedt Naame N/A Project Type rye | 1 PUD [  Cianoirinati OAS 000 (Min,
Sales Pace 3 NIA Tite of file NA Desenmmen /S aanmunvel foam chanyestntiartissitiiu Wi bie (eid tip wtih MUA

Tx] row Singin 1 | Loseaboll | las Higlennice 35/30 Cones Trat 1756-00

i Aces gt inpnditlen ot he ncanbaringd are nol appriitsa lactone, = ———<— ——l
4 Location I Urban Se] Suburban LT Rura! Properly values | | Increasing >) Stable —} Declining ae (Canianane tip
Fd Suit up Le Over 758 |] 26-75% (Tuner 25% |Drmnnvd/sippil) |_| Shotage = EX) an baliical: | Ove sup int) soot ah
Fag Gute | [Alun iSite P| Sag, arhatinn tne |_| Airulae 3 page [4] 3-0 mos || Gow Smeg. . Low 15 | NVA Low _ ffA.
FEY Neighbornond boundaies The subject neighborhood is bounded by Church Street (N), Soulh Tunnpiiee- owed [Ee “Ad Hh 1600 | maa Ath Nt NiA
EY Ctinshire Road (Sind tte towrot Cheshire (Wj Predominant iPrsymninant
a 230 60_| N/A NIA

Nimensicns See Allached Legal Dzscrijitior! Sile area 0.42 acre _, Shape Irreqular/Not adverse
Specific zoning classification aad description R18 (Residential) 18,000 sf minimum lol size.

Zoning compliance (Xj Legal {|_| Legat nonconforming (Grandtalhered use) {_Jitlegal, altach description |_| No zonin
Hiqhest and best use vf subject property as improved (or as proposed per plans and specifications): ™] Present use Olher use, altach description.

Uitlitias ~~ Paltic Other Public Other Gti-siin lmprovomonta Fyne Pubic — Pavate
Ecty bY Wale bs Sheet Macadam _ mF]

Savin wower [SS Aly Nene (" |
vide werpy tly? LL Ye ES) h¥es alan sme
Souuice(t| Usoll for physical characteristics of aronedty: [_J intenor and exterior inspection [) Exterior inspection trom street |__| Previous appraisal fies
as 1 {PALS [XO Absiiearinit aid tax neta, | | Pra lneptetinid | | Panty owner C7] eiltay (Qangubee: =i ———]
Fd No.of Siusies 2 Tye (OHVAWS Detoeh — aera Wally Stucco fool Surlace Aspe Manutactored Hiailng Pgs OSS No
Fig Does the property tnérally conform to tie neiahharhood terms of siyle, coadilion-and-constuction materials? {XbYes fife No. attanti description
ea Are (here any ago tee pieces or conditions that would affect the soundness or structural integrity of the improvements or the livability of Whe properly?

a

us

Are there any mara ad envionment conditions {hazadous wasles, toxic substances, etc.) present in the imprevernents, on the § site, or in the immediale viernity ov
the subject property? [_i Yes No it Yes, attach descnption

Tresearched the subject markel area for comparable listings and sales thal are the most similar and proximale lo the subject properly.

My research revealed a [otal uf 3 sales ranging in sales price fran$ |. 340,000 w$ 420,000

My research revealed atdalol = _islings ranging in lis! price from $ 448,000 ta$ §80,000

The analysis of the comparable sales belaw retlecls makel reaction to significant variations belween ihe sales and the subject property.

FEAMURE [SUBJECT SALE SALE 2 _SAUC A
32 Edgewood Dr 360 Woodhouse Ave 18 School House Rd 124 Pierson Dr
Address Wallingford, CT 06492 __ Wallingford, CT 06492 Walingford, Cy Inge Wallingford, CT 06492
Proximity to Subject 4.92 miles SE ee rules meg. au 0.53 miles WwW
Say Pict s NIA [5 SSS a4n.c00| =o: ms 420,000 | SS 420,000)
PRowGrogy Luntng ani |S &l§ wii260 |S: i 111.618 Sg 148 991;
. =." | Ext. inspect /MLS:V 1568. P.281_ | Ext, Inspecl/MLS:V 1568 P vane | fiat. rset MLSS 456i P796_|
“VALUE ADUSTIMENTS _DESCHIPIION DESCRIPTION. || +{--J$ Adjust DESCRIPTION | 4 {15 Adiust “DESCRIPTION | +{-JS Adjus
Sales or Financing | | None Disclosed = None Disclosed None Disclosed
“Dale ‘ph StieeTane ‘owav2017 DMZ - | Oaleoreai?
Average Average : Awhrage were
[0.42 acre 2B pies . VO000 | 3.25 were 14,000 | 0.97 acre : .00u
Py | Avorige ___ | Average Averaiye
a | ColiniwAverage CellonaltAverene | Solan ttanteAvest seat ]
I “Actual hi ge iViel 20 Vues | . -1 001 62 Years. } 3,000) 17 Yeates ‘500
(ciao, wage Aerie |) Average : |eocd 44,0090)
fg Above Grade {Total Bdrns Balls inet a Bathe. | | Tolal Borms: Balhs i: Ss] Tolar Bet ‘Bulis | ia |
ae loons Court Zi 40 3 | #1 *6.000 |_ 6 = ZT +5,000]_ 9 Zl +5,000
Fed Gru Linn) foe __. 3,794 Sq Fl 0s Syl eB smO]  8:763-Sy PL: a 4, a Hit 75,500]
Fey Sasement & finished = | No Basement Mil) Bansererve it 15,000 | Full Basernent 15,000 Full Basement 15,000
Fd Rooms Gelww Grae] N/A Lnliusih ved =, J Part Fini “8.000 Aon)
rf sCupul_ | 2. Gar Garage |. 2 Car Garage 5 Car Garage A -9,000 x=
=] _Amenties | foolv.0P.Shd 2eP | 1 EP +22.000 | Sheds, WO-PAL2EP. ays a £716,000
= Subtandviile Dot —|s75000 | DOM. 196 DOM- 20 |!
EY Not Adj tlalall iTS 26,000 Bo — 1 § ~35,000 | | 5 “8,000
imal Adjusted Sates Price i 1s E f 7
af Comparables Nr 3 366,000 |= £ 385,000 ee tS 442009
Chat of Pie Sale Meine Wilt 3 Wes None Nowe Within Post Year None Noted Wilhin Past 1 Year__| None Nolecl Within Pas| 4 Year.
Pace ut Pilye Side § O15 Os ols oO

Analysis of any current ageement ol sale cptiun, or listing of the subject properly and analysis of Ihe prior sales af subject and comparables: = There arenes knee current:
gthamants uf sale oplipng of lieiings af [he subline! propery There are ne: hnowe curren listings tor the comparnbly gales youd,

Summary 0 sales comparison and value conclusian FOR PURPOSES OF THE REPORT, IT IS ASSUMED THE PROPERTY IS IN OVERALL AVE RAGE
CONDITION, BASED ON INFORMATION FROM TOWM BECORDS AND THE EXTERIOR INSPECTION The adgerda attached to ts. repel
_frrraps; photoqrapnie. Geren conimnenti) ale coher. an ustoaprl srt ofthis. repon JHEShOuI rote itaehord to thie Ligysiur Thie report be sc
considered comple
Agdenguin:

This appraisals made "as-is", SUbECE 10 COMplelion per plang and specilicatians on Ihe basis ol a hypothelical condilion thal the wnprovements have been completed or
iy subject tol (he fullawing repairs, alterations or conditions

BASED ONAN — .-’, EXTERIORINSPECTION FROM THE STAEET OR AN |_| INTERIOR AND EXTERIOR INSPECTION , ESTIMATE THE MARKET VALUE, AS DEFINED, OF THE REAL
PROPERTY THAT IS THE SUBJECT OF THIS REPOATTOBES 28455. (0) _,ASOF Aliant 28. aL?

PAGE 1 OF 3 Fannic Mae Form 2055 9-96
Form 205 — “Win TOTAL” appraisal sollware by ala mode inc. ~~ 1-800-ALAMODE

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EXHIBIT C
WILL BE FILED UNDER SEAL
GIVEN THE CONFIDENTIAL
INFORMATION PROVIDED
Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 24 of 49

EXHIBIT D
MORTGAGE STATEMENTS
Case 3:18-cv-01879-JAM Document 1 Filed 11/16/18 Page 25 of 49

wLitton Loan Servicing?
SEND PAYMENTS TO:

P.O. Box 4387

Houston, TX 77210-4387

MNANASRU VEN OO ECT

410963-000997~001

GARY POWELL

GAIL POWELL

32 ENGEWOOD DR
WALLINGFORD CT 06492-2155

pabaDD yyy ag [yyedgfbyeedeg tg featonsgyaf fenpafal type,

Satie Ply deepen

PAV MENT OPWIONS Haan om

STATEMENT DATE

LOAN NUMBER n1ga68s4o | —
PAYMENT DUE DATE Papal wy
PROPERTY ADDRESS: 32 Edgewood Drive ~

Wallingford CT 06492
PRINCIPAL AND INTERES

ESCROW AMOUN 7 a " —
ADDITIONAL MOUNT REQUIRED 0.00
MISCELLANEOUS _ ee
TOTAL PAYMENT 72 195.85

EMEC AN UMP ORMATION Fe L

Pay By Mail ~~ (al
P.O. Box 4387
Houston, TX 77210-4387

Western Union

Pay By Phone
Cade City: oon

(800) 999-8501

&

“*PRINGIPAL BALANCE 484,179.6
ESCROW BALANCE O.c
SUSPENSE BALANCE o.c
CURRENT INTEREST RATE 0.0ac

* This is not a payoff balance.

Press Option 3 Code State: Texas Refer to back of statement for additional information.
La
ee 650C
= WacHovr®
- Wachovla Bank, N.A-
US MANAGEMENT CONSULTING GROUP, LLC : mc neon conrce
WALLINGFORD, “or $6492
**2 195.85
"0 Servicing, LP § 21
E i nse ,
ores * “ “ poles Yk tcketeic teh ARR RAM IA, DOLLARS

Two Thousand One Hundred Ninety-Five and 85/10

Mee Loan: # 13365549 Deo-2009

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Saati

100004587 kh TO"

Case 3:18-cv-01879-JAM

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Litton Loan Servicing?
SEND PAYMENTS TO:
P.O. Box 4387

a Houston, TX 77210-4387

i

UU

10963-000997-001

GARY POWELL

GAIL POWELL

382 EDGEWOOD DR -
WALLINGFORD CT 06492-2155 ‘

GUAaNU gag de] Dag dg pee ete ten ge feel gh
FWA ia Rae Ola KOd\ ES)
Pay By Mail

P.O. Box 4387 [=]
Houston, TX 77210-4387

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olay ie AoW any

STATEMENT DATE

STP2ATH2EBOS—
LOAN NUMBER 0013365549 ———
PAYMENT DUE DATE 08704} 2009-
o!/0)/2000  ——
PROPERTY ADDRESS: 32 Edgewood Drive —_
Wallingford CT 06492
PRINCIPAL AND INTEREST 1 .
ESCROW AMOUNT "Be2 78
ADDITIONAL AMOUNT REQUIRED 0.00
MISCELLANEOUS —_oot
TOTAL PAYMENT a 88 }
wo

Mey Nee needs ue wa led
*PRINCIPAL BALANCE 484,179.67

ESCROW BALANCE 0.00
SUSPENSE BALANCE 0.00
CURRENT INTEREST RATE 0.0000

Pay By Phone Western Union 7
(800) 999-8501 a Code City: Litton This Is not a payoff balance.
Press Option 3 Code State: Texas . Refer to back of staternent for additional Information.
fe tt 4 L va
Gy fp ie re a 2).
TRANSACTION We * pte72ib2211 PENSE / FEE |
DATE : GAIL M. POWELL 2, OTHER |
GARY L. POWELL 3.
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P Sa : “puinzesge'. 3
the order of bys fagtces Usewe GN _ FSH979S

PEOPLE’S UNITED BANK
PEOPLES.GOM

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| Seer Aaa Dateoo he tes Masded assy fri 8

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MVE

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,OBAOAB" 3355°:

applicable to your loan,

OBTAINED WILL BE USED FOR THAT PURPOSE.
IF YOU ARE

34-2 Vue FUE

Our records indicate that you have requested a loan modification and ma be on a Trial Period Plan. Please refer to your Trial Perlod
docurnents for additional information regarding the payment under the Trial Period.-The payment terms disclosed do not reflect the
contractual obligation. If you do nat comply with the terms of the Trlal Perlod Plan, the Information In this statement will no longer be

LITTON LOAN SERVICING LP IS A DEBT COLLECTOR, THIS 1S AN ATTEMPT TO COLLECT YOUR DEBT AND ANY INFORMATION

NOT OBLIGATED ON THE DEBT OR IF THE DEBT HAS BEEN DISCHARGED F ‘
FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN ATTEMPT TO ASSESS OR COLLECT THE DEBT FROM YOU FIERSONALLY

INA BANKRUPTCY PROCEEDING, THIS IS

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Rod Wa ie Ae Wee

mLitton Loan Servicing?

. SEND PAYMENTS TO; O112Y 010
* P.O. Box 4387 STATEMENT DATE SB 27/2509
Houston, TX 77210-4387 LOAN NUMBER , 0013365549 ——
PAYMENT DUE DATE OAL18B / 041 /2ee9
aijo-_
PROPERTY ADDRESS: 32 Edgewand Drive —
(AMAT AL UE AAD ION RAE EY Wallligford CT bede2
7 _ PRINCIPAL AND INTEREST 1,333.09
ae Paves eo" ESCROW AMOUNT 862.76
30 EDGEWOOD DR MISCELLANEOUS at
WALLINGFORD CT 06492-2155 . TOTAL PAYMENT Oe? 5195.85 =
. af i a
JUaLald pyle fagefahtyondaglytfoedanag yep gfenegtepelyyglyeglogyy <<  ,
. ee
oe WAL Le © a ed) Sy ON Me eu ed |
‘ : : *PRINCIPAL BALANCE 484,179.67
pay aT = ESCROW BALANCE 0.00
Houston, TX 77210-4387 SUSPENSE BALANCE 0.00
CURRENT INTEREST RATE 0.0000
Pay By Phone Western Union jebtifittill * :
(B00) 999-8501 Code City: Litton This is not a payoff balance.
Press Option 3 Code State: Texas Refer to back of statement for additional information.

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Loan # 13365549 Feb-2010 _

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Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 28 of 49

Litton Loan Servicing”

SEND PAYMENTS TO: \ \

P.O. Box 4387 oy STATEMENT DATE 02/16/2010

Houston, TX 77210-4387 LOAN NUMBER 0013365549
PAYMENT DUE DATE 03/01/2010

PROPERTY ADDRESS: 32 Edgewood Drive —

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P.O. Box 4987 STATEMENT DATE 03/15/2010

Lf Houston, TX 77210-4387 LOAN NUMBER 0013365549
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PROPERTY ADDRESS: 32 Edgewood Drive

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US MANAGEMENT CONSULTING GROUP, LLC

P.O, BOX 4302
WALLINGFORD, CT 06492

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GARY POWELL.
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PO BOX 4387
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GARY POWELL

GAIL POWELL

32 EDGEWOOD DR

WALLINGFORD CT 06492-2155

STATEMENT DATE 7
LOAN NUMBER 0013868849
PAYMENT DUE DATE 07/01/2010

PROPERTY ADDRESS: 32 Edgewood Drive
Wallingford CT 06492

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ESCROW AMOUNT 862.76
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Loan # 13365549 June-2010

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www.littonloan.com

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GARY POWELL

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Filed 11/16/18 Page 32 of 49

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STATEMENT DATE 12/15/2010
LOAN NUMBER 0013365549
CONTRACTUAL DUE DATE 02/01/2010

PROPERTY ADDRESS: 32 Edgewood Drive
Wallingford CT 06492

PRINCIPAL AND INTEREST 3,661.98
ESCROW AMOUNT 343.45
ADDITIONAL AMOUNT REQUIRED 0.00
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TOTAL MONTHLY PAYMENT 4,005.43
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OTHER FEES DUE 101.00
DEFERRED BALANCE 0.00

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Refer to back of statement for additional Information.

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US MANAGEMENT CONSULTING GROUP Ca

P.O, BOX 4302 NEWALLIANCE BANK

WALLINGFORD, CT 06492 51-7013-2111

(203) 265-1771 25120141
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Houston, TX 77210-4387

www.littenloan.com

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STATEMENT DATE 07/15/2010
LOAN NUMBER 0013365549
CONTRACTUAL DUE DATE 01/01/2010

PROPERTY ADDRESS: 32 Edgewood Drive
Wallingford CT 06492

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12 months of history can be viewed, If.there are questions regarding the
history please use our Contact Us page on the website for your convenience.

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Case 3:18-cv-01879-JAM Document 1 Filed 11/16/18 Page 37 of 49

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vet @ Ocwen Loan Servicing, LLC
www.ocwen.com

NMLS #: 1852
NC Permit No. 3946

CUSTOMER RELATIONS 1-800-746-2936

Xs, Your call may be recorded for the coaching
and development of our associates.

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GARY POWELL
GAIL POWELL

32 EDGEWOOD DRIVE
WALLINGFORD CT 06492-2155

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ao Account Number: 7092325641
Account Statement Date: 42/19/2011
Property Address:
32 Edgewood Drive
Wallingford CT 06492
eto Page 1

Special Notices

Disasters can be inevitable, but the financial burden they bring is not. First
Protector pays your monthly mortgage if your home Is unlivable after a
disaster. Call 1-877-479-3947 weekdays 8am - Bprn EST for more

2474
US MANAGEMENT CONSULTING GROUP,LLC-@@

P.O, BOX 4302 , NEWALLIANCE BANK

WALLINGFORD, CT 06492 51-7013-2111

(203) 265-1774 2/1/2012 _
PAY TO THE
ORDER of ___ Ocwen Loan Servicing, LLC _ $ "2 447.29

Two Thousand Four Hundred Forty-Seven and 29/1 OQ erin deiortoer iri ie ieee ii Iii rr AHA AIR ETH TRH HY DOLLAR

Oecwen Loan Servicing, LLC

MEMO

Loan # 7092325641 Jan-2012 Mig Payment
MOOeLP hw" tobasb?ORSON FOOOOSHLI2

i

00077841609 4444444881 000007092325641 50 077621886

O |
OCWEN
AMOUNT DUE

If received after 01/16/2012 add Late Charge of:
Total Amount Due with Late Charge:

Additional Principal:
Addltianal Escrow:
Late Charges:

Note: If your loan la current, any
excess funds will first be appiled to
outstanding amounts due and then
additional principal. :

eee Other: (Please Specify)
If this paymant is made via

GARY POWELL
GAIL POWELL
Payment Goupon __ | Account Number: 7092325644
[| Check box If your contact Information seas
has changed, update on the back ty ;
$ 77,621.88
$ 219.72
$ 77,841.60
$ OCWEN
$ PO BOX 6440
$ CAROL STREAM IL 60197-6440
Stet teeta acted eH

automatle drafting, this statement
\s for Informatlonal purposes only.

FOLD AND
DETACH HERE
gE

Total Enclosed:
Di Serna W cht pi

PLEASE DETAGH AND RETURN BOTTOM PORTION WITH PAYMENT IN THE ENCLOSED ENVELOPE WITH AUUREOS viorotr,
PLEASE DO NOT SEND CORRESPONDENCE WITH

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fr

ACCOUNT NUMBER ON YOUR CHECK,

DETACH HERE
Ge.
Case 3:18-cv-01879-JAM

NMLS #; 1852
NC Permit No 3946

CUSTOMER RELATIONS 1-800-746-2936

Your call may be recorded for the coaching
& and development of our associates.

22425) 4 0911669 20111221 GLaps104 OUWENSTM 102 00M GL49S10000" 146951 MS

GARY POWELL

GAIL POWELL

32 EDGEWOOD DRIVE
WALLINGFORD CT 06492-2155

\“\

|Account Information

as

Se,

Document 1 Filed 11/16/18 Page 40 of 49

———J

Account Number:
Account Statement Date:
Property Address:
32 Edgewood Drive
Wallingford CT 06492

DELQ

709232564 °
12/19/201 «

Page '

Special Notices

Disasters can be inevitable, but the fi
Protector pays your monthly mortgag
disaster. Call 1-877-479-3947 weekd

nancial burden thay bring Is not. First
@ if your home is unlivable after a
ays Bam - 8pm EST for more

* Current Principal Balance:
Interest Rate:

Next Payment Due Date:

Escraw Advance Balance:
Current Suspense Balance:
Interest Paid Year-To-Date:
Taxes Paid Year-To-Date:
Beginning Princlpal Balance:
Principal Raductions Year-To-Date:
Escrow Deposits/Adjustments
Recently Assassed Amounts:
November- 2011 Late Charges:
Dacempber- 2011 Late Charges:
11/18/11 Properly Inspection Fee:
11/22/11 Certified Mall Cost:

476,281.57
7.50000%
07/01/2010
6,870.14
2,908.61
2,981.02
-00
476,962.53
680.96
-6,870.14

183,10
183,10
10.50
13.06

“This ts the principal balanen aniy, not the amount raquirad to pay your agsount in full.

Recent Account Activity

[Details of Amount Due

Currant Amount Due:

Principal: 766.5:

thterest: 2,895.4

Escrow: 343.4!

Less:Partial Payment Amount: . =2,908,6'
Current Amount Due by 01/01/12: 1,096.8:

Past Due Amount:

Principal: 13,011.51

Interest: 52,904.01

Escrow: 6,182.1
Past Due Amounts DUE IMMEDIATELY: 72,097.74

Assessed Fees/Expense Outstanding:

Late Charges: 4,028.2(

Prev-Certifled Mail Cost: 26.12

Prev-Prior Servicer Fees: 247.0(

Prev-Property Inspection Fee: 21,0C

Prev-Property Valuation Expense: 105.0¢
Total Fees/Expense Outstanding: 4,427.33

Total Amount Due: 77,621.BE

Date | Description

Principat

Interest

Escrow| Optional |Late Charges Fees/Other|Suspense| Total

No transactlons since last statement

important Messages —_

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ofthis statement.

principal.

Payments received are to be applied In accordance with
contractually current: Any additlonal funds received will b

Tax season is right around the corner. Look for

We may:report information about your account to oredit bureau
in. your credi{ report. To obtain information about your rights u

your 1098 and 1099 year end tax forms in the envelope of your January account

s. Late payments, missed payments
nder the Fair Credit Reporting Act go to www. ftc.gov/eredit.

your mortgage nate. Payments will be first applied to bring your loan
@ applied to outstanding fees and advances prior to being appliad to

, of other defaults on your account may be reflected

lf you are-currently in bankruptey or if you have fled for bankruptcy since obtalning this loan, please read the bankruptcy information provided on the back

statement,
FOLD AND PLEASE DETACH AND RETURN BOTTOM PORTION WITH PAYMENT IN THE ENCLOSED ENVELOPE WITH ADDRESS VISIBLE, FOLD AND
DETACTBIERE PLEASE DO NOT SEND CORRESPONDENCE WITH YOUR PAYMENT - A DETACH HERE

LWAYS WRITE YOUR ACCOUNT NUMBER ON YOUR CHECK

e
Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 41 of 49

PO Box 24738
West Palm Beach, FL 33416-4738

OQcwen Loan Servicing, LLC

www.ocwencustomers.com

ONCE Aycan niin

Property Address

32 Edaawood Dr
Wallingford, CT 06492

Statement Date
Account Number
Payment Due Date

Amount Due

04/20/15
7092325641
05/01/15

$242,175.73

if payment is received after 05/16/15, a $219.72 late fee will be charged.

Customer Care
Insurance

800-746-2936
866-317-7661

* Thia. Is your Pringlpal Balance only, not the amount required to pay the

sea Account information Explanation of Amount Due

Pringipal Balance" $475,596.35 | Principal 3,

Escrow Balance -$6,526.69 | Interest $2,678.4

Maturity Date November 1, 2032] Escrow $343.4

Interest Rate 7,50000% | Total Regular Payment $4,005.4

Prepayment Penalty No] Past Due Payment(s) Amount $237,235.8
Fees/Other Charges $2,284.91
Unapplied Funds** 2$1,350,4
Total Amount Due $242,175.7:

loan Ih full. I
esis Setar ein SAS Since i (OSIE7/13 16-0: cred colteial Ae ea
How Payments & Charges were Applied
Date Date | Description Transaction |Principal |Interest | Escrow Optional Late Foes! Unapplied
Applied | Received Total Products _| Charges Other Funds

aera Charge - Property “815.00 ov 5.00
Inspection Fee

06/18/14 Charge - Property -$15.00 -$16,00
Inspection Fee

07/29/14 Charge - Property -315.00 -$15,00
Inspection Fee

09/02/14 Charge - Property -$15.00 -$15.00
Inspection Fee

09/26/14 Charge - Property -$13.25 -$13,25
Inspection Fee

oe Past Payments Breakdown oleae | eae SPR
~ Pal Giicw Lae Glatemen Pant vext in tishe

Principal $.00 $.00

Interest $.00 $.00

Escrow (Taxes & Insurance) $.00 $.00

Fees/Other Charges $,00 $.00

Unapplied Funds** $.00 $1,350.47

Total $.00 $1,350.47

+ _ 4%
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Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 42 of 49

Ocwen Loan Servicing, LLC a mriaye
r Vieetere Wiahimehtahreie ey s
C ) PO Box 24738 We AA hee bok ‘ AUT SAS EEL :

West Palm Beach, FL 33416-4738

0 C a E ‘ v Property Address 32 Edgewood Dr
Www.ocw ecustomers.com Wallingford, CT 06492

‘Statement Date 05/20/15
SUIS 3:13 PAS 3 C0019) 20150521 KEILBOO? OCWSTIIT (az COI KCI GFAIOT" 146951 LIS Account Number 7092325644
Hag LL! ypbegtgUy HUNG EA agy fev yag fed DE He TET Payment Due Date 06/04/15
ul!
At
GARY |. POWELL mount Due $246,207.66

Hf paymont is receivad after 06/16/15, a $219.72 lata fea will be charged.
GAIL M POWELL 4

32 EDGEWOOD DR

WALLINGFORD CT 06492-2155 Customer Care BOO-746-2936
Insurance 866-317-7661
J Account Information Explanation of \imount Duell oul
Principal Balance" $475,596.35 | Principal $080. 6d
Escrow Balance -$6,526.69 | Interest $2,672.34
Maturity Date November 1, 2032] Escrow $343.45
interest sate : 7,50000% | Total Regular Payment $4,005.43
epaymen Melly No | Past Due Payment(s) Amount $243,526.20
Fees/Other Charges $26.50
Unapplied Funds** -$1,350.47
Total Amount Due $246,207.66
* This Is the Princlpal Balance only, not the amourit required to pay the
loan in full.
Activity Since Last Statement (04/20/15 to. 05/20/15) _ (2) Wao y RA ARPA aise
How Payments & Charges were heater
Date Date | Description Transaction | Principal | Interest Escrow Optional Late Feos/ Unapplied
| Applied_| Received Total Products | Charges —_| Other Funds
(4/285 harge - Properly 43.25 -B1a.25
Inspectlon Fee
05/07/15 Charge - Property -$13.25 -$13.25
Inspection Fee
Past Payments Breakdown ie __ Special Notices
Poy] Siem Lage aes Pint Vee Wi Dike
Principal $.00 $.00
Interest $.00 $.00
Escrow (Taxes & Insurance) $.00 $.00
Fees/Other Charges $.00 $.00
Unapplied Funds** : $.00 $1,380.47
Total $.00 $1,350.47
Important News

“Unappliad Funds: Any partial payments that you make are not applied to your martgage, but Instead are reid a a separate uneoped fund
account. If you pay the balance of a partial payment, the funds will then be applied to your mortgage.

Payments received are to be applied in accordance with the mortgage note. Payments will be first applied to bring the loan contractually
current. Any additional funds received will be applied to outstanding fees and advances prior to being applied to principal.

If you have any questions about your loan, please call 1-800-746-2936 and ask to set up an appointment with Shahid Syed, your relationshir
manager, or schedule an appointment al www. ocwencustomers.cam,

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Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 43 of 49

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PO Box 24738
West Palm Beach, FL 33416-4738

ROWEN Property Address 32 Edgewood Dr
www.ocwencustomers.cam Wallingford, CT 06492
Statement Date. 1O16/15
JONGH6 3:48 PALS UDUIWBs 20451017 IKUFZUUGU OCWSTAIT 1 oz JOM KJFZ5800U0' II8OGt AIS Account Number 7092325641
plang fl gaa LAN A feyre ALAA foto aden fett Payment Due Date pe
GARY L POWELL Amount Due $266,660.26
GAIL M POWELL payment is received after 11/16/15, a $219.72 late fee will be charged,
32 EDGEWOOD DR | pp oe
WALLINGFORD CT 06492-2155 pupae Customer Care 800-746-2036
ins Insurance 868-317-7661
Account Information ae Explanation of Amount Due 5
Principal Balance’ $475,596,35 | Principal $1,020.5€
Escrow Balance -$6,526.69 | Interest $2,641.02
Maturity Date November 1, 2032] Escrow $343.45
Mess Po 7.50000% | Total Regular Payment $4,005.43
repayment Penalty No! Past Due Payment(s) Amount $263,992.05
Fees/Other Charges $13.28
Unapplied Funds** : i
Total Amount Due $266,660.26
‘Thin is the Principal Balance atily, not the amount required to pay the
Out In Full. = = = ——— ~ woe ee —_ 7 ee pa gy ell a ee ee a
Asiivity Since Last Statement (09/16/15 to 10/16/15)
_ sow Payments & Charges were Applied
Date Date | Description Transaction | Principal | Interast Escrow __| Optional Late Foos! Unappllad
Applied | Received Total Products —_| Charges Other Funds
Oo 7116 Late Charge Piss, i — ” 18a. 70
Assossed
10/14/15 Charge - Property $15,265 $13.26
Inspection Fee
Pasi Payments Breakdown Spesial Notices.
Pant fain red aidunaeed Tayi whine
Principal $.00 $.00
Interest $.00 $.00
Escrow (Taxes & Insurance) $.00 $.00
Fees/Other Charges $.00 $7.00
Unapplied Funds*™* $.00 $1,350.47
Total $.00 $1,357.47

important News
“Unapplied Furds: Any partial payments that you make are not applied to your mortgage, bull instead are held in a separate unappiied funds
account. If you pay the balance of a partial payment, the funds will then be applied ta your mortgage.

Please note that your monthly payment amourit has changed to $4,205.88 epee 12/01/2015, Further detail regarding the reason for this
change will be included in a separate letter.

Payments received are to be applied in accordance with the mortgage note. Payments will be first applied to bring the loan contractually
current. Any additional funds received will be applied to outstanding fees and advances prior to being applied to principal.

Tax season is right around the corner. Please visit OCWEN's website at www.ocwencustomers.com to verify the social security number on
file for your loan.

If you ate any questions about your loan, please call 1-800-746-2936 and ask to set up an appointment with Allen Lopez, your relationship
[managar, or schedule an appointment at www.ocwencustomers.com. _

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Case 3:18-cv-01879-JAM Document 1 Filed 11/16/18 Page 44 of 49

Uewen Loan Servicing, LLC
PO Box 24738
West Paliti Beach, FL 33416-4738

Wwww.ocwencustomers.com

JAIAG 3:01 PM 0000286 20160110 LAHLO41¢ OCWSTMT 1 0z 00M LAHLOLO0NI' 126054 41S

Ee LA ME ead donde neg eelygg ty Mee eyed fla
GARY L POWELL

GAIL M POWELL.

32 EDGEWOOD DR
WALLINGFORD CT 06492-2158

Account Information

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Property Address

32 Edgewood Dr
Wallingford, CT 06492

Statement Date
Account Number
Due Date

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rie

Lh
ag ‘y

01/18/16
7092325641

Customer Care — BOO-74E D996
Insurance 866-317-7661

Explanation of Amount Due

Total Amount Due
Alternative Payment — Reinstatement

Principal Balance* “$476 ,596.35] Principal $475,596.31
Escrow Balance $6,526.69 | Interest $197, 967.1"
Maturity Date November 1, 2032] Escrow Advance $6,526.6!
Interest Rate 7.50000% | FeesiOther Charges (Since Last Statement) $295.01
Prepayment Penalty No| Past Due Fees/Other Charges $12,239 .0°

Unapplied Furds™* z 4

$691,273.7!

Reinstatement amount (as of 1/18/16) $275,942.98:
* This Is the Principal Balance only, not the amount requlted to pay tha
loan (in full,
Activity Since Last Statement (12/16/15 to 01/18/16)
How Payments & Chargas were Applied
Date Date | Daseriptlon Transaction | Principal [Interest Escrow Optional late Foes! Unapplled
| Applied | Received Total Products | Charges —_| Other Funds
BATS Lale Charge $183.10 $183.10
Assessed
01/06/16 Charge - Title 295,00 ~$295,00
Report Fee
: Past Payments Breakdown = 3 ~~ *(| "Special Notices
Trane Giyay Lend seavraninit Phil iin tite +d
Pringipal $.00 $.00
Interest $.00 $.00
Escrow (Taxes & Insurance) $.00 $.00
Fees/Other Charges $.00 $.00
Unapplied Funds** $.00 $1,350.47
Total $,00 $1,350.47
Importani Nows

“Unapplled Funds: Any partial payments thal you make are nol applied lo your mor
Account, Ifyou pay the balance of a partial payment, the funds will then be applied to your mortgage,

Our records indicate that your loan ja in foreclosure. Accordingly, this statemarnt may be tor informational purposes only,
Paymonts received are to be applied in accordance with the mortgage rate. Payments will be first applied to bring the loan contractually
current. Any additional funds raceived will be applied (a outstanding fees and advances prior to being appliad to principal.
Your loan has been accelerated (the past due balance, all fees, and your refnaining pringipal balance Is now due in full). This statament ts
nol considered a payoff quote -- you aye still responsible for any additional fees and expenses that post to your account after Ihe statement
date. Any funds in your escrow account remain in the account, and have net been applied te your at hount due. Once the accelerated amount
die Is received, any escrow account overages will be retumed to you wilhin 20 days, You car still reinstate your loan (bring your accourit to
a curront status) and avoid forevlogure, The amount required té (einstate your loan as of the cate of this statement is listed above,

igage, bul Instead ara held in a separate unapplied finds

bee |

See reverse side for important information and state specific disclosures.
Case 3:18-cv-01879-JAM Document 1 Filed 11/16/18 Page 45 of 49

Ocwen Loan Servicing, LLC
PO Box 24738
West Palm Beach, FL 33416-4738

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r iperty Address 32 Edgewood Dr

www.ocwericustomers.com Wallingford, CT 06492.2155

Atenent Date O2N7N6
ITE HESTON GATT OTE NH PRA CACTI AN di CIA GSO MMI aR 4H

). |Aecount Number 7092325641
EEE ygfere yee pete gE gE feet pty ( Bye Pate hE
GARY L POWELL is an Steed, fy Bae
GAIL M POWELL
32 EDGEWOOD DR
WALLINGFORD CT 06492-2155

elias e luslomer Gare 800-746-0000
bee Insurance 866-317-7661
“4 —-— —<— —- —_——

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— Account Information Explanation of Amount Due
Principal Balance® oe $4765 596.36
Escrow Balance -§G} . $200,840.56
Maturity Date November 1, 2092) : ice» $6 526.69
Interest Rate 7. SO000% Me eesslit Chaiges (Since Last Statement) $26.50
Prepayment Penalty , h enlOther Charges $12,534.01
ia -$1,350.47
Bus $694,173.64
ynalive Paynionl — Reinstatement
Reinstatement amount (as of 2/17/16) $280,175.20
* This is the Prindipal Balance only, not the amount required (o pay the
loan in full, ee fe =
Activity Since Last Statement (01/18/16 to 02/17/16)
| How Payments & Charges were Appliad
Date Date |Description Transaction | Principal [Interest Escrow [Optional | Late Foes! Unapplied —
Applied |Recelved| _ ffotal | Products | Charges Other Funds
OMT Charge - Property “S19,26 “h14. 26
Inspection Fee
O21 6/16 Charge - Property $13.25 -$13,25
Inspection Fee

Past Payments Breakclown Special Notices
Thak) Tibet Deal Ghiilliviite’ - (Vinita |) —
Principal $,00 $.00
Interest $.00 $.00
Escrow (Taxes & Insurance) $,00 $.00
Fees/Other Charges $ 00 $.00
Unapplied Funds** $.00 $1,350.47
Total $.00 $1,350.47

_._______ Important News
“Unapplied Funds; Any partial payments thal you make are nol applied to your mortgage, hut instexd are held In a Separale Unapplled funds
agcount. Ifyou pay the balance of a partial payment, the funds will then be appiled to your mortgage,

Our records Indicate that your loan is In foreclosure. Accordingly, (hig statement may he fur Informational purpases only.

Payments recelved are la be applied in acoordance with the mortgage note. Payments will be first applied to bring the loan contractually
current. Any additional funds received will he applied to outstanding faes and advances prior te being applied ta prinaipal.

Your loan has been accelerated (the past due balance, all fees, and your remainiyig principal balance is now due ih full), This statement is
not considerec.a payolf quote -- you are sill respansible for any additional faas and expenses that post te yaur account after the statement
date, Any funds in your escrow account! ramialr in the accourit, ape have not besn applléd lo your amount ue. Ones the accelerated amount
due is racelved, any escrow account overages will be returned to you within 20:days. You can still reinstate your loan (bring your account to
2 current status) and avold foreclosure, The amount required to relfistate your loan as Of the date of this slatement Is listed above.

Case 3:18-cv-01879-JAM Document1 Filed 11/16/18 Page 46 of 49

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OCWEN

Ocwen Loan Servicing, LLC
PO.Box24738.. ce,
West Palm Beach, FL 33416-4738

Wwww.ocwencustomers.com

Mie 10:25 AMS Water 20180515 L F864 107 OOWSTMT 1 02 OOM LFOR11GO00 146055 KS
Ld Eda Vd deE Yt dane bengal degt lettin
GARY L POWELL

GAIL M POWELL
7147 100TH AVE

C/O PATRICK M

SUTTON

CLEAR LAKE MN 55319-9489

i ol Rerareteay ‘WoxorelUlaTmeSt ey CeMna Tea nT!

Property Address, 32 Edgewoud Dr
Wallingford, |CT, 06492-2165
Statement Date 08/17/18
Account Number 7092326641
| Due Date Due. Now. ~

Amount Due $709,078.35
Customer Care 800-746-2536
insurance 866-347-7661

Principal Bala 475,596.95. p 5, 596,38
Escrow Balance . “$7,281.94 | Interest -$212,730.4
Maturity Date November 1, 2032] Escraw Advance ° $7,281.94
Interest Rate #,80000% | Fees/Other Charges (Since Last Statement) : $2,233.04
Prepayment Penalty NO) Past Due Fees/Other Charges | $12,587.04
Unaipplied Funds"* li
Total Amount Due oo -$709,078;38
Alternative Payment — Reinstatement: a
Reinstatement amount (as of 6/17/16) $299,258.26
* This 1s the Pringipal Balance only, not tie aiount raquired to pay tha
Joun In full, 1 a _
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we lived |
Date Date | Descriptlon Transaction | Principal |lntarast | Escrow Optional Late Fees! "| Unappllad
Appliad_| Recelved Totat Products | Chargos | |-Other Funds:
ear a Charge ~ Properly Hid.28 , Of STS BB
Inspection Fee
06/09/18 Charge -Additional -$360,00 +$360.00
\Caurt Fillng Co
06/09/16 Charge - | $53.00 $63.00
Miscellansous
Recording ~ .
osMOe™ | ‘Charge: Lise “¥$63:00 Jt fave BBB00) ~~
> |'Pendens/NOPA. - ;

Prinalpal
Inlerest

Fees/Olher Charges
| Total

Escrow (Taxes & Insurance)

Unapplied Funds’ .

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$.00.
$4,380.47
$1,380.47

hot been applisd to your amount due. Ones the accelerated amount
hin 20 days. You an still reinstate your (oan (bring. your account to

your loan as of the date of this statement Is listed above.

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unds

AAT

See reverse side forimportant information and state-specific: disclosures,
Case 3:18-cv-01879-JAM Document 1 Filed 11/16/18 Page 47 of 49

— Ocwen Loai Servicing, LLC
PO Box 24738
| West Palm Beach, FL 33416-4738
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OCWEN ee Ploperiy Address 2 Bgonbod Dr
sloinars com Wallingtord, CT 06492.2165

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Wn tn a onsite vento nese ace tr 70912425641

Ag] oU yoyo goes yday off AEA events pepuniow
avecsnet SME ROU Sodas SLO MSY Sy

GAIL M POWELL ff payment es rupuived alter ONFFRERG 1S 10.00 kta foe may ba chacugd,

32 EDGEWOOD DR _

WALLINGFORD CT 06492-2155 Wy Chin tae wit

{nsuranice 866-317-7661

P ____ Account Informailon” 7 ~ Explapation of Amount bue™™ |
Principal Euilarige* AYE RGRSE GAT a 078,506.55
Escrow Balance -$7,281.94 | interest $278,125.04
Maturity mae November 1, 2032 Escrow Advance $7,284 94
Propayin a * Ponally SS Fees/Other Charges (Since Last Statement) $659.50
© Past Due Fees/Other Charges $17,542.30
Unapplied Funds** =bL.2
Total Amount Due $777,854.66
Alternatives Payment ~ Reinstatement
fica $86,606.04
= nteres $253,958.10
Thilo Ls the Pilea Halide artiy, petit mneune tupnirdd pay ine | Escrow Payment $37,753.90
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| ————__Atilvity Sine hast Statouwnt (09/19/18 to OA T/1B) -
_ | — fi How Payments & Charsos were Applied =|
Dato Date | Moseratlon Transactlon [Pringlpal | litoreat Exjuraw Opttanat Lay Faaut Unappllod
Applied JRecotvod) Vota | =|. Predicts | Churus | Other Funnel,
TWAWTA thread = Paxipnitlys Fiat 1 ~~ eae
Inspection Fee
APL Charge - 4646.00) $64,000
Addie aihtiuctetioue
Appearalice |

~ Past Paymanis Brontdown Spacin Notley

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Principal hadi 1.00
Interest pA $00
Escrow (Taxes and/or \neuranee) $.00 $.00
Fees/Other Charges $.00 $.00
Unapplied Funds** £00 $1,350,47
Total $.00 $1,350 47

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Inport News
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See reverse side for important information and state specific disclosures.

Gary L Powell

wre Payment Coupon
Account Number: 7092225641

Reinstatement Amount| 078,87 5

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Tolal Amount Oue with | isle Chargo (if assessed) B76, 9
Additional Principal

Addilional Escrow

Late Charges and Fees

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Other Additional Payments | _
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Sonus SHUTSF SSC Cre elE A ese Cd aoa:
| West Palm Beach, FL 3344 6-47:38
seen Proputly Address 92 Gdyaviood Dr —
Www.ocwencuslomers.com Wallingford, CT 06492-2155
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Account Numbor 709238256441
Due Date Due Naw
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Insurance 886-317-7661
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Grow Balence 7.201 94] Relnstatemant amou S of ‘967.
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Prepayment Penally Nu

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——__ Aatlvity Since Last Statement (03/19/18 to O4NT/T8)

‘Special Notleas

Past Payments Rroalctown

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Interest $.00 $.00
Escrow (Taxes and/or Insurance) $.00 $,00
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Unapniled Funds” $00 $1,350.47
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Important News

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On WEN Payment Coupon Gary L Powell

Account Number: 7092325641
Reinstatement Amount

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Tolal Amount Oue with Late Charge (if assessed)
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Late Charges and Fees| I a
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then additonal paneipat PO BOX 660264

DALLAS TX 75266-0264

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\ Ocwen Loan Servicing, LLC 1861 Worthington Road, Suite 100
— WWW.OCWEN.COM West Palm Beach, FL 33409
OGWEN Helping Homeowners Is What We Dol ™ Toll Free: (800) 746 - 2936

Date: 04/18/18 Loan Number: 7092325641

GARY L POWELL

GAIL M POWELL fe Ad

32 EDGEWOOD DR

WALI.INGFORD CT 06492 32 Edgewood Dr

Wallingford, CT 06492.2155

“ DELINQUENCY NOTICE **

You are late on your mortgage payments. As 04/17/18 you are 2816 days delinquent on your mortgage foan. Your account

first became delinquent on 08/02/10. Failure to bring your loan current may result In fees and foreclosure’ - the loss of your
home,

Recent Account History

Pryment ove DAVOS UNPAID AMOUNS OF $4,206.20
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Total: $376,967.57, You must pay this amount to bring your loan current. Please note that the Total Amount Qua
Includes your next regular monthly payment.

This aniount may not include all fees and charges, as all fees and charges may not have bean billed or posted to your
account as of the letter date. Please contact us for your current reinstatement amount or payoff amount,

Your account has been referred to an attorney to foreclosurs. The first step in this process, the first legal flllng, has not yet heen
completed.

“If the loan has foreclosure protection provided under the Servicemembers Clvll Relief Act (SCRA) or similar state law, Ocwen
will not conduct foreclosure activity during the foreclosure protection period,

If You Are Experiencing Financial Diffleulty: See the back of the billlng statement for Information about mortgage counseling
or assistance,

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NMLS # 1852 MADMRM

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debt in In. active bankruptay or has buen clisgtanyined HVHUGH bankruptcy, [Ke communication js puraly provided to yau for informational purposes
only with regard ta our asqured lan onthe abaya refsrencad Property, Ils acl iniendad as an altempt to collae & debt fram you personally,

